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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII

USA                                           )        Case: 1:22-cr-00060-LEK-1
                                              )
               Plaintiff,                     )
                                              )        ORDER TEMPORARILY UNSEALING
        vs.                                   )        HEARING FOR LIMITED PURPOSE OF
                                              )        PREPARING COPY OF TRANSCRIPT
WALTER GLENN PRIMROSE (1),                    )
                                              )
            Defendant.                        )
_____________________________                 )

      ORDER TEMPORARILY UNSEALING HEARING FOR LIMITED PURPOSE OF
                   PREPARING COPY OF TRANSCRIPT

        Government Counsel Thomas Muehleck's Request for Leave to Obtain the Transcript of a

partially sealed proceeding held on 10/27/2022 is hereby GRANTED.

        It is the ORDER OF THIS COURT that the partially sealed hearing shall be unsealed for

the limited purpose of preparing and providing a transcript to Thomas Muehleck, counsel for the

government.

        It is FURTHER ORDERED that the sealed hearing shall be resealed thereafter and

remain sealed until further order of the Court.

        It is FURTHER ORDERED that the receiving party shall not disclose the sealed contents

of this transcript to anyone other than the representatives of the parties directly concerned with

this case.

        DATED: Honolulu, Hawaii, on December 8, 2022.




                                         Andrade
                                        Rom A. Trader
                                        United States Magistrate Judge
